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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA

       In re: HAZELTON, TRACY A.                                         §   Case No. 17-60631-MER
              HAZELTON, NATALIE L.                                       §
                                                                         §
   Debtor(s)                                                             §

                         NOTICE OF TRUSTEE'S FINAL REPORT AND
                           APPLICATIONS FOR COMPENSATION
                            AND DEADLINE TO OBJECT (NFR)

            Pursuant to Fed. R. Bankr. P.2002(a)(6) and 2002(f)(8), please take notice that
       DAVID G. VELDE                             , trustee of the above styled estate, has filed a
       Final Report and the trustee and the trustee's professionals have filed final fee applications,
       which are summarized in the attached Summary of Trustee's Final Report and Applications
       for Compensation.

             The complete Final Report and all applications for compensation are available for
       inspection at the Office of the Clerk, at the following address:
             U.S. Bankruptcy Court
             300 South Fourth Street
             Minneapolis, MN 55415

               U.S. Bankruptcy Court
               200 U.S. Courthouse
               316 North Robert Street
               St. Paul, MN 55101

               U.S. Bankruptcy Court
               404 Gerald W. Heaney Federal Building
               515 West First Street
               Duluth, MN 55802

             Any person wishing to object to any fee application that has not already been approved or
       to the Final Report, must file a written objection within 21 days from the mailing of this notice,
       together with a request for a hearing and serve a copy of both upon the trustee, any party whose
       application is being challenged and the United States Trustee. If no objections are filed, the
       Court will act on the fee applications and the trustee may pay dividends pursuant to FRBP 3009
       without further order of the Court.




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      Date Mailed: 04/14/2020           By: /e/David G. Velde
                                                                Chapter 7 Trustee
       DAVID G. VELDE
       1118 BROADWAY
       ALEXANDRIA, MN 56308
       (320) 763-6561




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                                     UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF MINNESOTA

             In re: HAZELTON, TRACY A.                                                      §       Case No. 17-60631-MER
                    HAZELTON, NATALIE L.                                                    §
                                                                                            §
        Debtor(s)                                                                           §

                                  SUMMARY OF TRUSTEE'S FINAL REPORT
                                  AND APPLICATIONS FOR COMPENSATION


                    The Final Report shows receipts of                                          $          62,515.98

                    and approved disbursements of                                               $            2,400.08
                                                           1
                    leaving a balance on hand of                                                $          60,115.90

                                                         Balance on hand:                                   $              60,115.90
               Claims of secured creditors will be paid as follows:

Claim          Claimant                                       Claim Allowed Amount Interim Payments                          Proposed
No.                                                         Asserted       of Claim          to Date                         Payment
 12            AMERICREDIT                                 37,961.41             37,961.41                      0.00              0.00
               FINANCIAL SERVICES,
               INC.
 13            AMERICREDIT                                 44,487.89             44,487.89                      0.00              0.00
               FINANCIAL SERVICES,
               INC.
 15            BELL BANK                                 246,588.94             246,588.94                      0.00              0.00
 25            KING ELECTRIC LLC                           10,473.45             10,473.45                      0.00              0.00
 26            ALLY BANK                                   60,525.39             60,525.39                      0.00              0.00
                                                         Total to be paid to secured creditors:             $                   0.00
                                                         Remaining balance:                                 $              60,115.90




                1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
  earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
  receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
  account of the disbursement of the additional interest.

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              Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                             Total Requested Interim Payments           Proposed
                                                                                       to Date          Payment
Trustee, Fees - DAVID G. VELDE                                        6,214.10                0.00        6,214.10
Trustee, Expenses - DAVID G. VELDE                                      513.38                0.00           513.38
Accountant for Trustee, Fees - PICKETT & DEMUTH,                        825.00                0.00           825.00
LTD
                            Total to be paid for chapter 7 administration expenses:       $             7,552.48
                            Remaining balance:                                            $            52,563.42

               Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                             Total Requested Interim Payments           Proposed
                                                                                       to Date          Payment
                                                      None
                            Total to be paid for prior chapter administrative expenses:   $                 0.00
                            Remaining balance:                                            $            52,563.42

             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $370,344.33 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim         Claimant                                       Allowed Amount Interim Payments             Proposed
No                                                                  of Claim          to Date            Payment
   3          INTERNAL REVENUE SERVICE                             329,123.12                 0.00       46,712.84
  10P         STATE OF MINNESOTA                                    41,221.21                 0.00        5,850.58
                                                Total to be paid for priority claims:     $            52,563.42
                                                Remaining balance:                        $                 0.00
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).




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            Timely claims of general (unsecured) creditors totaling $ 5,526,264.21 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
  1            HOUSTON ENGINEERING, INC.                               3,336.90                 0.00              0.00
  2            NARDINI FIRE EQUIPMENT                                    350.00                 0.00              0.00
  4            RIVER BEND INDUSTRIES                                     194.55                 0.00              0.00
  5            BUTLER MACHINERY COMPANY                               29,405.03                 0.00              0.00
  6            NORTH CENTRAL RENTAL & LEASING                          6,565.17                 0.00              0.00
               LLC
  7            FIRST NATIONAL BANK OF OMAHA                           14,306.72                 0.00              0.00
  8 -2         CAPITAL ONE BANK (USA), N.A.                              975.20                 0.00              0.00
  9            LAMPERT YARDS - US LBM LLC                             34,485.59                 0.00              0.00
 10U           STATE OF MINNESOTA                                     13,813.65                 0.00              0.00
 11            RDO EQUIPMENT CO                                       15,739.36                 0.00              0.00
 14            MIDWEST LANDSCAPING                                     8,241.21                 0.00              0.00
 16            WELLS FARGO BANK                                   2,236,384.93                  0.00              0.00
 17            AGGREGATE INDUSTRIES MWR INC                           18,871.23                 0.00              0.00
 18            THE GUARANTEE COMPANY OF                           2,388,151.07                  0.00              0.00
               NORTH AMERICA USA
 19            PEMBERTON LAW FIRM                                      4,792.33                 0.00              0.00
 20            QUANTUM3 GROUP LLC AS AGENT                             8,716.82                 0.00              0.00
               FOR
 21            QUANTUM3 GROUP LLC AS AGENT                               125.34                 0.00              0.00
               FOR
 22            PORTFOLIO RECOVERY ASSOCIATES,                          7,003.69                 0.00              0.00
               LLC
 23            SYNCHRONY BANK                                          1,330.98                 0.00              0.00
 24            ASSOCIATED BANK, NATIONAL                            733,474.44                  0.00              0.00
               ASSOCIATION
                             Total to be paid for timely general unsecured claims:          $                0.00
                             Remaining balance:                                             $                0.00




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            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                           Allowed Amount Interim Payments               Proposed
No                                                                       of Claim          to Date              Payment
                                                          None
                              Total to be paid for tardy general unsecured claims:                $                    0.00
                              Remaining balance:                                                  $                    0.00


             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                           Allowed Amount Interim Payments               Proposed
No                                                                       of Claim          to Date              Payment
                                                           None
                                                    Total to be paid for subordinated claims: $                        0.00
                                                    Remaining balance:                        $                        0.00




                                                Prepared By: /s/DAVID G. VELDE
                                                                                             Trustee

             DAVID G. VELDE
             1118 BROADWAY
             ALEXANDRIA, MN 56308
             (320) 763-6561



             STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
             Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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